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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
                                                        :
SECURITIES AND EXCHANGE                                 :            Filed Under Seal
COMMISSION,                                             :
                                                        :
                       Plaintiff,                       :            19 Civ. 09439 (PKC)
                                                        :
         v.                                             :            ECF Case
                                                        :
TELEGRAM GROUP INC. and TON
                                                        :
ISSUER INC.,
                                                        :
                       Defendant.                       :
                                                        :
------------------------------------------------------- X

         INVESTOR Z’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
                                SEAL

        Pursuant to this Court’s January 22, 2020 Order (Dkt. No. 108) (“Sealing Order”), non-

party, “Investor Z,” respectfully moves for an order (1) permanently sealing the three documents

described in Appendix A hereto from public disclosure, and directing that, if any of the

documents are filed on the public docket, that they be filed with the redactions encompassed by

Exhibits 1-A, 2-A, and 3-A hereto, and (2) requiring redaction of all information about non-party

Investor Z’s identity as a Grams purchaser, its financial information, its trade secrets, and the

identity of proprietary contacts within its network that are critical to its business (hereinafter, the

“Confidential Material”) in any documents filed to date and any documents that may be filed on

the public docket in the future, irrespective of the source of such documents.

         The documents at issue in this motion, detailed further in Appendix A, consist of the

following: Request No. 1:




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particularly true where, as here, the confidential information at issue is that of an “innocent third

part[y].” United States v. Amodeo, 71 F.3d 1044, 1050-51 (2d Cir. 1995) (internal quotation marks

and citation omitted).

       Based on the foregoing and for reasons more fully explained herein, non-party Investor Z

respectfully requests that this Court seal the identified Confidential Material in the manner set forth

in Appendix A to this submission.

                                         BACKGROUND

       As described in the declaration accompanying this submission (hereinafter “Decl.”), non-

party Investor Z is a venture capital firm whose business depends on its proprietary network. Decl.

¶¶ 2–4. Investor Z operates in a highly competitive market, and it distinguishes itself by its unique

approach to analyzing and making investment and other strategic decisions, including through the

utilization of proprietary contacts and business networks that facilitate its investment opportunities

and decisions. Id. Investor Z considers its processes and the network it relies on for access to

opportunities and making investment decisions and other strategic decisions—including the

decision to purchase Grams—to be one of its most valuable and confidential business secrets.

Decl. ¶ 4. Non-party Investor Z seeks to protect its internal processes and its network from public

disclosure, because the publication of this information would damage its reputation and remove

its competitive edge, making it easier for other venture firms to predict or preempt Investor Z’s

investment decisions and other strategic decisions. Decl. ¶¶ 5, 8.

       Non-Party Investor Z’s Voluntary Production of Documents

       Non-party Investor Z purchased Grams from Telegram. The SEC later contacted Investor

Z, requesting its voluntary production of documents relating to its purchase. Investor Z complied

with this request, producing documents to the SEC in response thereto. Decl. ¶ 6.               These




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documents contained sensitive confidential information and thus were produced with the

designation CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER, pursuant to the

November 12, 2019 Protective Order entered in this case (“Protective Order”). See Dkt. No. 36.

       The Protective Order provides that a party or non-party “may designate documents as

confidential and restricted in disclosure under this Order by placing or affixing the words

‘CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER’ on the document” prior to or at the

time of production. Dkt. No. 36, ¶ 2. It further provides that it is appropriate to designate materials

as confidential under the Protective Order “upon making a good faith determination that the

documents contain information…that should be protected from disclosure as confidential trade

secrets, research, development, marketing, personal, financial, competitive, commercial, personal,

private, or other sensitive commercial or personal information that is not publicly available[.]” Id.

¶ 3. The Protective Order provides for a specific process when a party wishes to file protected

materials with the Court.

       Unless otherwise ordered, the filing party “shall so advise the…non-party seven (7) days

in advance specifying the precise portion of the information the party seeks to use, the general

purpose thereof and any redactions to which the party does not object. Within three (3) days

thereafter, the party or non-party whose confidential information is sought to be used may make

an application to seal…indicating the portion or portions of the information it seeks to have

sealed.” Id. ¶ 8. With respect to the instant Motion, the Sealing Order superseded these timing

requirements and provides that all non-parties have until February 4, 2020 to move to seal

documents used by the parties to support their preliminary injunction and cross-summary judgment

motions.




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       Confidential Material




                                                                          This document is subject

to Request No. 1 herein.

       On January 28, 2020, the SEC notified non-party Investor Z that it intends to publicly file

the two documents subject to Request No. 2 and Request No. 3 herein, which Investor Z designated

as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” that the SEC had relied upon in

its Motion for Summary Judgment. The SEC previously provided these documents to the Court,

but did not file them on the public docket. The SEC explained that it would “undertake to redact

investor and business names before filing these documents” and that non-party Investor Z had until

February 4, 2020 to move to seal all or a portion of any such documents pursuant to the procedure

outlined in the Protective Order and the Sealing Order. On February 3, 2020, the SEC provided

non-party Investor Z with copies of the its proposed redactions.

                                         ARGUMENT

       Although there is strong presumption of the public’s right to access court files and records,

this presumption “is not absolute and can easily give way to ‘privacy interests’ or other

considerations.” See Morning Mist Holdings Ltd., 714 F.3d at 140. Consequently, the decision

whether information may be filed under seal is “one best left to the sound discretion of the trial




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court, a discretion to be exercised in light of the relevant facts and circumstances of the particular

case.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 599 (1978). Non-party Investor Z

respectfully requests that this Court exercise its discretion by granting this motion to seal the

Confidential Material.

       The Second Circuit recognizes that “privacy interests of innocent third parties [like

Investor Z] should weigh heavily in a court’s balancing equation. Such interests, while not always

fitting comfortably under the rubric ‘privacy,’ are a venerable common law exception to the

presumption of access.” Amodeo, 71 F.3d at 1050-51 (internal citations, quotations and alterations

omitted); see also Royal Park Invs. SA/NV v. Wells Fargo, 2018 WL 739580, at *19 (S.D.N.Y.

Jan. 10, 2018) (holding that redaction of third-party information was appropriate). Here, non-party

Investor Z respectfully submits that this Court should protect non-party Investor Z’s Confidential

Material in the manner set forth in Appendix A for the following reasons:

       First, the Court should grant the motion to seal non-party Investor Z’s Confidential

Material because the information fits into categories commonly recognized by courts of this

District as warranting such protection. Investor Z is a venture capital firm whose success depends

upon maintaining the confidentiality of its investors, its business networks, and its portfolio

companies. Decl. ¶¶ 2–5. The Confidential Material identifies Investor Z as a Grams purchaser

and describes in detail the information Investor Z gathered from its network as part of its analysis

of the Grams purchase. These categories of information are properly protected as trade secrets.

See, e.g., Hardy v. Equitable Life Assurance Soc’y of United States, 697 F. App’x 723, 725 (2d

Cir. 2017) (Summary Order) (“trade secrets may be sufficient to defeat the presumption”);

Cumberland Packing Corp. v. Monsanto Co., 184 F.R.D. 504, 506 (E.D.N.Y. 1999) (“trade

secrets” are “commonly sealed”); Dodona I, LLC v. Goldman, Sachs & Co., 119 F. Supp. 3d 152,




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156 (S.D.N.Y. 2015) (“information concerning trading strategies, objectives and transactions . . .

overcomes the presumption of public disclosure”). Public release of that information would cause

non-party Investor Z irreparable harm. The Court should prevent this unnecessary and drastic

harm to an innocent and cooperative third party. See, e.g., Dodona I, LLC, 119 F. Supp. 3d at 156.

       Second, Courts recognize the privacy interests of “innocent third parties” as a

countervailing consideration that can overcome the presumption of access. Doe v. City of New

York, No. 15-CV-117 (AJN), 2019 WL 4392533, at *2 (S.D.N.Y. Sept. 13, 2019). Investor Z is

not a party to this action. Its decision to voluntarily comply with the SEC’s requests should not

result in harm that may flow from the inadvertent disclosure of its identity in connection with this

litigation. The Court should grant the specific relief requested in Appendix A and order the SEC

to implement comparable redactions if it plans to file public versions of other Confidential

Material, irrespective of the source of the document. See, e.g., Dodona I, LLC, 119 F. Supp. 3d at

156 (approving “limited redactions” of, inter alia, identities of third parties in summary judgment

record); Kleftogiannis v. Inline Plastics Corp., No. 3:18-CV-1975 (VAB), 2019 WL 4244810, at

*12 (D. Conn. Sept. 6, 2019) (finding proposed redactions of “non-party, non-management

employees’ names” in complaint to be “narrowly tailored to serve” employers’ interests in

maintaining integrity of internal investigation and protecting participants in investigation).

       Third, this Court should consider how disclosure of the Confidential Material may quell

non-parties from voluntarily assisting with investigations in the future. Indeed, “[o]fficials with

law enforcement responsibilities may be heavily reliant upon the voluntary cooperation of persons

who may want or need confidentiality,” and permitting the exposure of the identity of those persons

can chill cooperation. Amodeo, 71 F.3d at 1050. Accordingly, “[i]f release is likely to cause

persons in the particular or future cases to resist involvement where cooperation is desirable, that




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effect should be weighed against the presumption of access.” Id.; see also Doe, 2019 WL 4392533,

at *2 (“concerns that disclosing the identities of cooperators could hinder law enforcement are also

relevant” to the disclosure analysis). Here, much of the Confidential Material was provided

voluntarily by non-party Investor Z to the SEC in connection with the SEC’s investigation of and

lawsuit against Telegram. Non-party Investor Z provided this Confidential Material to the SEC

with the expectation and understanding that it would be treated accordingly pursuant to the

Protective Order. Without such assurances and safeguards to ensure confidentiality of the

Confidential Material, it is unlikely that non-party Investor Z would have voluntarily produced its

sensitive documents to the SEC or voluntarily submitted a declaration to the SEC for use in its

Motion for Summary Judgment. And disclosing the Confidential Material will likely deter non-

party Investor Z and other similarly situated non-party entities or individuals from cooperating in

this case and in future SEC enforcement proceedings.

                                          CONCLUSION

       For the reasons stated above, non-party Investor Z respectfully requests that the Court

exercise its discretion in granting this motion to seal the Confidential Material. This is necessary

to ensure that the Confidential Material is protected from public disclosure in the context of the

pending litigation, including not referring to non-party Investor Z or to any of its current or former

employees by name during the upcoming February 18 and February 19, 2020 hearings.




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Dated: February 4, 2020                Respectfully submitted,


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